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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                              ) Chapter 7
                                                    )
BLUEFLY ACQUISITION, LLC                            ) 19-10207 (CSS)
                                                    )
                   Debtor.                          )
                                                    )

                              DECLARATION OF FRED EBRAHEMI

             1.    I am an officer and Vice President of Total Fashion, Inc. (“Movant”). I have

personal knowledge of the matters set forth in this declaration, and if I were called upon to

testify, I could and would competently testify thereto.

             2.    In my position with Movant, I am required to and do personally work with the

books and records relating to the commercial loan currently held by Debtor, which was made to

Bluefly Acquisition, LLC (“Debtor”) in the amount of $12,250,000.00 (the “Loan”).

         3.        As to the following facts, I know them to be true of my own knowledge or I have

gained knowledge of them from the business records of Movant which were made at or about the

time the events recorded and which are maintained in the ordinary course of Movant’s business

at or near the time of the acts, conditions, or events to which they relate. The specific financial

information set forth below has been taken directly from such business records and has been

verified by me as being accurate.

         4.        On March 7, 2017, Clearlake Capital Partners II (Master), L.P. and Clearlake

Capital Partners III (Master), L.P. (collectively, “Original Lenders”) made a commercial

business loan to Debtor in the original principal amount of $12,250,000.000 (the “Loan”).

         5.        In connection with the Loan, Debtor executed and delivered to Original Lenders a

Term Note, dated as of March 7, 2017, in the original principal amount of $12,250,000.00 (as at

any time modified or amended, the “Note”). The Note evidences Debtor’s indebtedness to

Movant under the Loan.

         6.        A true and correct copy of the Note is attached as Exhibit A.



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         7.     As security for the Note, Debtor executed and delivered to Original Lenders a

General Security Agreement, dated as of March 7, 2017 (the “Security Agreement”).

         8.     A true and correct copy of the Security Agreement is attached as Exhibit B.

         9.     The Security Agreement grants Movant a first-priority security interest in

substantially all of Debtor’s assets, both tangible and intangible, as set forth in the Security

Agreement.

         10.    Also, as further security for the Note, Debtor executed and delivered to Original

Lenders a Trademark Security Agreement, dated as of March 7, 2017 (the “Trademark
Agreement”).

         11.    A true and correct copy of the Trademark Agreement is attached as Exhibit C.

         12.    Under the Trademark Agreement, Debtor granted to Original Lenders a first-

priority security interest in Debtor’s trademarks and all other intellectual property, all as more

fully described in the Trademark Agreement.

         13.    Original Lenders also perfected its security interest by registering its Trademark

Assignment with the USTPO on March 22, 2017

         14.    A true and correct copy of the USPTO Trademark Assignment Registration is

attached as Exhibit D.

         15.    On March 7, 2017, Original Lenders recorded UCC-1 financing statements with

the Delaware Secretary of State, which describe Original Lenders’ security interest in

substantially all of Debtor’s assets.

         16.    In order to further secure the indebtedness owed under the Note, Debtor and

Original Lenders entered into that certain Deposit Account Control Agreement, dated as of April

30, 2017 (the “DACA”). A true and correct copy of the DACA is attached as Exhibit E.

         17.    Under the DACA, Debtor granted Movant the right, upon Debtor’s default, to

take control of Debtor’s operating bank account, number ending in 0967, held at HSBC Bank

USA (the “Debtor Account”). The DACA also grants Movant the right to instruct the Bank to

sweep the funds held in the Debtor Account and deposit them in the Movant’s account.

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         18.    The Note, the General Security Agreement, the Trademark Security Agreement,

the DACA, and all other documents further evidencing, securing or executed in connection with

the indebtedness owed under the Loan, as at any time amended or supplemented, are sometimes

referred to herein collectively as the “Loan Documents.”

         19.    On January 11, 2019, Original Lenders assigned the Loan and all Loan

Documents to Movant.        The assignment of the Loan from Original Lenders to Movant is

evidenced in part by that certain Omnibus Assignment and the related Assignment of Security

Interest in trademark, both dated as of January 11, 2019.
         20.    True and correct copies of the Omnibus Assignment and the related Assignment

of Security Interest are attached as Exhibits F and G respectively.

         21.    On January 11, 2019, Movant recorded the Trademark Assignment with the

USPTO evidencing the assignment of Original Lenders’ security interests in all of Debtor’s

trademarks.

         22.    A true and correct copy of Movant’s Trademark Assignment with the USPTO is

attached as Exhibit H.

         23.    On January 11, 2019, Original Lenders also assigned the DACA to Movant as

evidenced by that certain Notice of Assignment of Deposit Account Control Agreement (the

“DACA Assignment”).

         24.    A true and correct copy of the DACA Assignment is attached as Exhibit I.

         25.      In addition, on January 14, 2019, Original Lender recorded UCC-3 statements

with the Secretary of State of Delaware, which evidence the assignment to Movant of Original

Lenders’ security interest in substantially all of Debtor’s assets.

         26.    True and correct copies of the UCC-3 Statements are attached as Exhibits J and

K respectively.

         27.    Debtor is in default under the Loan Documents. Monetary and nonmonetary

Events of Default have occurred and are ongoing; Debtor has arbitrarily ceased operations,

terminated its employees and is significantly impairing the value of Movant’s collateral. As of

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the Petition Date, Movant is owed $8,613,050.81. As of January 31, 2019, Debtor owes Movant

$8,369,569.00 in unpaid principal. As of February 1, 2019, Debtor owes Movant $1,394.93 in

accrued interest and owes $1,394.93 in per diem interest for the month of February. As of the

Petition Date, Debtor owes Movant $240,691.95 in attorney’s fees and costs.

         28.    As of February 1, 2019, I believe that the value of any of Debtor’s assets is far

less than the obligations owed to Movant.

         29.    A true and correct copy of Movant’s Statement of Account is attached Exhibit L.

         30.    Under Section A of the Note, Debtor is required to make payments to Movant on
the last day of each calendar month at the Interest Rate defined in the Note (the “Interest

Payments”). The Interest Rate defined in the Note is 1 percent per annum so long as Debtor has

not defaulted under the Note. The Interest Rate increases to 6 percent per annum if Debtor is in

default under the Note.

         31.    Under Section B of the Note, Debtor is required to make payments to Movant of

principal in an amount equal to the Payment Percentage of Net Sales of the Debtor for the

preceding calendar month (the “Principal Payments”). The term

“Payment Percentage” is defined by the Note as eight percent for the period from the date of the

Note until the first anniversary of the Note, and seven percent for the period from and after the

first anniversary of the Note until the Maturity Date.

         32.    Debtor failed to make the Principal Payment and the Interest Payment for the

Month of October that was due on October 31, 2018 (the “First Payment Default”).

         33.    On November 15, 2018, Original Lenders informed Debtor in writing that

Debtor’s failure to make the Principal Payment and Interest Payment for October was an event of

default under the Note (the “November 15 Default Notice”).

         34.    A true and correct copy of the November 15 Default Notice is attached as Exhibit

M.

         35.    Debtor thereafter cured the First Payment Default on or before November 30,

2018.

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         36.    On December 31, 2018, Debtor again failed to make the required monthly

payment of principal and interest (the “Second Payment Default”).

         37.    On January 2, 2019, Original Lenders informed Debtor in writing that the Second

Payment Default is a default under the Loan Documents (the “January 2 Default Letter”).

         38.    A true and correct copy of the January 2 Default Letter is attached as Exhibit N.

Debtor still has not cured the Second Payment Default.

         39.    Under Section 7.3(d) of the Note, within 45 days after each fiscal quarter Debtor

is required to provide confirmation from an accounting firm agreeable to Movant regarding the
accuracy of financial reports provided by Debtor for the prior quarter.

         40.    Debtor has failed to comply with Section 7.3(d) of the Note because Debtor has

failed to provide the required confirmation from an accounting firm. On November 20, 2018,

Original Lenders informed Debtor of Debtor’s default under Section 7.3(d) of the Note (the

“November 20 Default Notice”).

         41.    A true and correct copy of the November 20 Default Notice is attached as Exhibit

O.

         42.    Debtor still has not cured the default under Section 7.3(d).

         43.    Under Section 6.1(f) of the Note, a default occurs if Debtor “shall have incurred

any payment obligations (other than in the ordinary course of Debtor’s business) or additional

debt or granted a Lien or security interest in any of the Collateral” securing the Loan. In

addition, under 3.3(d) of the Security Agreement, Debtor warranted that all of the collateral

securing the Loan would remain free and clear of all security interests, liens, attachment, levies

and encumbrances of any kind. Further, under section 3.3(g) of the Security Agreement, Debtor

warranted that Debtor would not, without Movant’s prior written consent, sell, assign, mortgage,

lease or dispose of the collateral securing the Loan.

         44.    Subsequent to executing the Note and the other Loan Documents, Debtor obtained

a loan from insider Luo Yong Bin (who is an indirect owner of Debtor) in an amount greater than

$6 million.

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         45.    Subsequent to executing the Note and the other Loan Documents, Debtor obtained

a loan from APS Global LLC (“APS”) in an amount greater than $3 million.

         46.    Those transactions were kept secret from Movant.

         47.    Debtor’s receipt of the loans from Mr. Bin and APS each is yet another default

under the Note and the other Loan Documents.

         48.    Debtor’s defaults under the Loan Documents are not surprising because Debtor’s

financial condition has become increasingly precarious in recent months. For example, Debtor

currently has 96 “held checks” pending. These are checks made out to vendors that are due for
payment, but which Debtor has not transmitted for payment.

         49.    Debtor told Movant that the reason Debtor had not transmitted the checks for

payment is because Debtor did not have sufficient funds to cover the checks.

         50.    As of January 2, 2019, Debtor owed at least $2,845,853.07 in vendor invoices,

and the held checks amounted to $550,206.49.            The held checks were generated as early as

February 15, 2018, and most of the held checks were generated between December 4, 2018, and

January 2, 2019.

         51.    On January 11, 2019, Debtor provided Movant with the detailed information that

included the above referenced held vendor checks (“Financials”).

         52.    A true and correct copy of the Financials Debtor provided to Movant is attached

as Exhibit P.

         53.    As reflected in the Financials, as of October 2018, Debtor held $7,769,127 in total

current liabilities against $2,205,546 in total current assets.

         54.    In addition, Debtor’s accounts payable aging report, included in the Financials,

indicates that Debtor, at least as of January 11, 2019, was far behind on paying vendors and other

payees. For example, Debtor owed one payee for debts that accrued as early as April 1, 2017,

and Debtor owed payees for debts that accrued in each and every month during 2018.




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         55.    As reflected in the Financials, the total amount of Debtor’s accounts payable that

have been due for 30 days or greater prior to the Petition Date is $1,646,304.31. Of that amount,

$772,374.16 was at least 90 days past due.

         56.    In addition to Debtor’s failure to pay vendors, Debtor has not paid rent at its

office location for the past three months. Upon information and belief, as a result, prior to the

Petition Date, Debtor’s landlord had threatened to commence eviction proceedings. With each

passing day, Debtor’s accounts payable and accrued expenses mount even higher.

         57.    Upon information and belief, employees, payroll taxes, and benefits were unpaid
for at least one week prior to the Petition Date and possibly more, depending upon when payroll

was due.

         58.    Debtor’s failures to pay its debts as they become due is a default under Section

9(a)(ix) of the Security Agreement, which specifically states that the Debtor shall be in default if

Debtor “shall not pay, or admits in writing its inability to pay, its debts generally as they become

due.”

         59.    Under Section 9 of the Note, Debtor is required to pay to Movant, upon demand,

all expenses, costs, charges, disbursements and reasonable attorneys’ fees incurred by Movant in

connection with administration, enforcement and collection of the Loan.

         60.    Movant has incurred substantial expenses, costs and fees in connection with the

administration, enforcement and collection of the Loan (the “Enforcement Costs”), and Movant

has demanded payment of the Enforcement Costs. Debtor has refused to repay the Enforcement

Costs, which is another default under the Loan Documents.

         61.    In light of Debtor’s numerous defaults under the Loan Documents, Movant

exercised its rights under the Loan Documents and DACA.

         62.    On January 11, 2019, Movant informed Debtor in writing that Movant had

exercised its remedy of accelerating the Loan as a result of Debtor’s defaults (the “Acceleration

Letter”).

         63.    A true and correct copy of Movant’s Acceleration Letter is attached as Exhibit Q.

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         64.    On January 23, 2019, Movant initiated an action against the Debtor, in the

Superior Court in Los Angeles, California (the “State Court Action”), with the case captioned

as Total Fashion, Inc. v. Bluefly Acquisition, LLC and McGann Holdings, Ltd., Case No.

19SMCV00102, Superior Court of the State of California, County of Los Angeles, Santa Monica

Courthouse. In the State Court Action, Movant sought to appoint a receiver to take over Debtor’s

operations in order to protect Movant’s interest in its collateral and ensure the least amount of

harm to Debtor’s employees.

         65.    On January 29, 2019, Debtor’s counsel informed Movant’s counsel, in writing,
that Borrower “had decided to turn the computer off and not operate. The employees are going

home.” Also on January 29, 2019, I accessed Borrower’s website, www.bluefly.com. A message

appeared which says: “We apologize for the inconvenience, we’re performing some

maintenance. Please refresh your browser in a moment to access our site. Thank you for your

patience.” (The “Website Error Message”).

         66.    A true and correct copy of Debtor’s Website Error Message is attached as Exhibit

R.

         67.    On January 31, 2019, Debtor again failed to make the required monthly debt

service payment (the “Third Payment Default”).

         68.    At a hearing on January 31, 2019, the Court in the State Court Action appointed

the Receiver as a result of the Debtor’s arbitrary shutdown of its business, termination of its

employees and impairment of Movant’s Collateral.

         69.    A true and correct copy of the Order Granting Appointment of a Receiver is

attached as Exhibit S.




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